                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:14-00059
                                                    )      JUDGE CAMPBELL
JESUS ARAGON and BRANDON NGUYEN                     )

                                            ORDER

        The Court attempted to hold a status conference in this case on May 12, 2014, but counsel

for Defendant Nguyen, Eileen M. Parrish, failed to attend. On or before May 16, 2014, counsel for

Defendant Nguyen, shall file a notice with the Court explaining her failure to attend the status

conference.

        It is so ORDERED.

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                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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